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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     (Palm Beach Division)

                               Case No. 9:19-CV-80633-ROSENBERG


    SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

    v.

    NATURAL DIAMONDS INVESTMENT CO.,
    et al.,

           Defendants,

    H.S. MANAGEMENT GROUP LLC, et al.,

          Relief Defendants.
    ______________________________________________/

     THIRD QUARTERLY STATUS REPORT OF RECEIVER JEFFREY C. SCHNEIDER

           Pursuant to paragraphs 46 and 47 of Section XII of the Order Granting Plaintiff Securities

    and Exchange Commission’s Motion for Appointment of Receiver [DE 20] (the “Appointment

    Order”), Jeffrey C. Schneider, not individually, but solely in his capacity as the Court-appointed

    Receiver (the “Receiver”) for Natural Diamonds Investment Co. (“NDIC”), Eagle Financial

    Diamond Group, Inc. (“EFDG”), and Argyle Coin, LLC (“Argyle”) (collectively, the

    “Receivership Entities”), submits his Third Quarterly Status Report for the quarter ending

    December 31, 2019.

                                          INTRODUCTION

           On May 16, 2019, this Court appointed me as Receiver for Argyle. On March 28, 2019,

    approximately two months before my appointment as Receiver in this case, the Honorable Donald

    Middlebrooks appointed me as Corporate Monitor for NDIC and EFDG in Rounds v. Natural

    Diamonds Investment Co., et al., Case No. 18-cv-81151 (the “Corporate Monitor Action”). I then
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    filed a motion requesting that this receivership be expanded to include NDIC and EFDG in order

    to avoid two separate proceedings and reduce expenses for the benefit of the victims of the fraud

    [DE 97]. On July 11, 2019, this Court granted that request and expanded the receivership to

    include NDIC and EFDG [DE 104]. I then moved to close the Corporate Monitor Action, which

    Judge Middlebrooks granted on October 25, 2019. Because NDIC and EFDG are now part of this

    receivership, the work done in the Corporate Monitor Action – previously discussed in my First

    Quarterly Status Report [DE 111-1] – may be discussed herein for context.

           Pursuant to paragraph 46 of the Appointment Order, I am required to file Quarterly Status

    Reports within 30 days of the end of each calendar quarter. The last quarter ended on December

    31, 2019, so I am filing this Third Quarterly Status Report by the January 30th deadline.

           Pursuant to paragraph 47 of the Appointment Order, I will discuss the following topics in

    this Report:

                   A. A summary of my operations;

                   B. The amount of cash on hand, the amount and nature of accrued
                      administrative expenses, and the amount of unencumbered funds
                      in the estate;

                   C. A schedule of all the receipts and disbursements (attached as
                      Exhibit A to the Quarterly Status Report) of the receivership,
                      with one column for the quarterly period covered and a second
                      column for the entire duration of the receivership;

                   D. A description of all known Receivership Property, including
                      approximate or actual valuations, anticipated or proposed
                      dispositions, and reasons for retaining assets where no
                      disposition is intended;

                   E. A description of liquidated and unliquidated claims held by the
                      Receivership Estate, including the need for forensic and/or
                      investigatory resources; approximate valuations of claims; and
                      anticipated or proposed methods of enforcing such claims
                      (including likelihood of success in: (i) reducing the claims to
                      judgment; and, (ii) collecting such judgments);


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                  F. A list of all known creditors with their addresses and the
                     amounts of their claims;

                  G. The status of Creditor Claims Proceedings, after such
                     proceedings have been commenced; and,

                  H. My recommendations for a continuation or discontinuation of
                     the receivership and the reason for the recommendations.

           I will address these topics one-by-one below.

       A. A Summary of the Operations of the Receiver

           1. Procedural Background in This Proceeding

           On May 13, 2019, Plaintiff Securities and Exchange Commission (the “SEC”) filed an

    emergency action in this Court to enjoin NDIC, EFDG (a/k/a Diamante Atelier), and Argyle

    (again, the “Receivership Entities”), and their owners, Jose Aman, Harold Seigel and Jonathan

    Seigel. In the Complaint [DE 1], the SEC asserted various claims against the Receivership

    Entities, Aman, and the Seigels. Essentially, the SEC alleged that the Receivership Entities were

    a three-tiered Ponzi scheme that promised hundreds of investors unreasonably large investment

    returns that ranged from 24% to 100% every year to two years for signing investment contracts

    that were supposedly backed by diamonds worth tens of millions of dollars. The SEC alleged that

    the Receivership Entities raised approximately $30 million from approximately 300 investors in

    Canada and the United States from late 2013 through the present.

           The SEC also filed a Motion for Temporary Restraining Order, Asset Freeze, and Other

    Relief [DE 4] and a Motion for Appointment of Receiver [DE 7]. The SEC advised this Court that

    I had been appointed as Corporate Monitor for NDIC and EFDG in the Corporate Monitor Action,

    which was then also pending in the Southern District of Florida.

           As a result of the SEC’s efforts, this Court granted the SEC’s requests and, among other

    things, appointed me as Receiver for Argyle. This compelled me to, among many other things,

    assume full control of Argyle and to secure, conserve, hold, manage, and prevent the loss of its
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    assets. Similarly, given the expansion of the receivership to include NDIC and EFDG, this brought

    NDIC and EFDG into the fold of this case, with concomitant obligations to secure, conserve, hold,

    manage, and prevent the loss of NDIC’s and EFDG’s assets.

           There are still asset freezes in place over Defendants Aman, Harold Seigel and H.S.

    Management Group LLC, which is a Seigel entity that received millions of dollars from the

    Receivership Entities and a current relief defendant in this action [DE 40]. In addition, there are

    asset freezes over the other relief defendants, including approximately $2.1 million frozen in

    accounts in the names of Relief Defendants Winners Church International Inc. of West Palm Beach

    Florida (“Winners Church”) and Fredrick and Whitney Shipman (collectively, the “Shipmans”)

    [DE 59], and dozens of diamonds and jewelry pieces held by Relief Defendant Gold 7 of Miami,

    LLC (“G7”) [DE 55]. Regarding Winners Church and the Shipmans, I testified at the May 23,

    2019 show cause hearing, after which there were additional submissions; this Court ultimately

    imposed asset freezes over their assets [DE 59]. As discussed below, the SEC recently settled its

    claims against Winners Church and the Shipmans for the $2.1 million initially frozen and those

    funds will, upon Court-approval, be transferred to me to distribute, again upon Court-approval, to

    the victims of the fraud.

           Since my appointment, my professionals 1 and I have been working to effectuate my

    obligations under the Appointment Order. As discussed more fully below, this work has primarily

    involved identifying and securing assets of the Receivership Entities, as well as preserving all

    relevant books and records regarding the Receivership Entities (both hard copy and electronically-

    stored information (“ESI”)).




    1
       Pursuant to paragraph 50 of Section XIII of the Appointment Order, the Court approved the
    retention of my law firm on a limited basis, along with Sallah Astarita & Cox, LLC (the “Sallah
    Firm”) and Silver Law Group (the “Silver Firm”) [DE 126].
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            Throughout this process, my professionals and I have worked cooperatively with the SEC

    and other agencies, with each side mindful of their respective responsibilities and duties. The

    coordination of my and the SEC’s efforts has resulted in many accomplishments (further discussed

    below) for the benefit of the Receivership Estate and its victims.

            2. Demands on, and Meetings with, Aman and the Seigels

            As previously reported, I made various demands on and had several meetings with Aman,

    the Seigels and their counsel in April through June of this year. I have also continued to

    communicate with Aman’s and Seigels’ counsels regarding relevant receivership issues. I will not

    repeat the same summaries in this Report, but my communications covered and continue to cover

    various receivership issues, including, among other things: (i) the present location of diamonds,

    including those owned by investors or clients of the Seigels (discussed further below); (ii) the

    location of investor funds; (iii) an explanation and accounting of what happened to the purported

    $30 million that was raised from the investors; (iv) the list of all investors, with contact information

    and their investment history; (v) the identification of investors who received money back; and (vi)

    the nature and explanation of the NDIC, EFDG, and Argyle businesses and investments. Aman

    and the Seigels have been cooperative, have met with me when requested to do so, and have

    answered (through counsel) my questions.

            As reported previously, I have also received hard copy files of dozens of boxes of

    documents and the corporate computer’s CPU from the former business premises. My review of

    the hard copy and electronic files, which are voluminous, is continuing.

            3. The Business

            As previously reported, there is no operating business for the Receivership Entities. All

    company bank accounts were depleted and closed as of my appointment. The Receivership

    Entities’ websites remain shut down. I have instructed Aman and the Seigels that they cannot

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    continue the diamond and cryptocurrency investments they previously did through the

    Receivership Entities.

           4. Subpoenas

           As previously reported, I listed the various initial subpoenas to third parties to discover

    information about assets and the use of investor funds. I have received the subpoena productions

    and intend to follow up regarding missing documents from the relevant third parties. I have

    continued to serve subpoenas on additional third parties that may have information, or assets,

    relating to this proceeding.

           5. Additional Demands

           As previously reported, I served several demand letters on non-parties who received (or

    may have received) money or assets that are or may be subject to the Appointment Order and may

    be required to return those items. Some have responded and some have not. Some have returned

    diamonds and jewelry, while others have not. I will continue to not name their names, as I do not

    want to disclose whom I may or will be suing.

           6. The Business Premises

           I previously reported that I inspected the former business premises located at 125 Worth

    Avenue, Suite 203, Palm Beach, Florida 33480; removed the remaining furniture, fixtures, and

    equipment within; secured the books and records within; signed a cancellation of lease and limited

    release with the landlord (in which the lease was formally cancelled and I was released of any

    obligation to continue to pay rent); and filed a motion to sell the furniture, fixtures, and equipment

    [DE 41, 42 in the Corporate Monitor Action].

           There were not that many office items to sell. Unfortunately, they were not too valuable,

    according to the preliminary assessments by the auctioneer, who at first did not even want the

    items. I ultimately sold the various office items through my own efforts for a total amount of

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    $2,555.00 without having to incur any storage expenses. The sales proceeds were deposited in the

    EFDG/NDIC receivership account because the lease was in EFDG’s name.

           7. Other Pending Lawsuits

           There have been many pending lawsuits against the Receivership Entities, the Seigels,

    and/or Aman. I have continued to contact the lawyers in the known pending cases to inform them

    of the Appointment Order and to request a stay of the other lawsuits (if not already stayed by the

    parties and/or the Courts sua sponte). Importantly, the Appointment Order in Section VII,

    paragraphs 27-29, prohibits anyone from suing the Receivership Entities or executing on their

    assets. All known pending claims against the Receivership Entities in the other lawsuits have been

    stayed, although the personal claims against Aman and/or the Seigels in several lawsuits remain

    pending. I also continue to reserve all rights to bring the stay issue before this Court, if necessary.

           8. Receivership Appraiser

           I moved to employ, which this Court promptly granted, a respected local diamond/jewelry

    appraiser, Jewelry by Frank Inc. Appraisal Service (principal Frank Graziano) (the “Appraiser” or

    “Jewelry by Frank”), to appraise the various diamonds that I secured [DE 139, 140]. Jewelry by

    Frank Inc. is familiar with the diamonds in the receivership because Mr. Graziano previously

    appraised a large amount of the inventory of the diamonds of the Receivership Entities before the

    Receiver’s appointment. That prior experience and familiarity with the diamonds should benefit

    the Estate, including potentially saving expenses associated with appraising the many diamonds

    and jewelry pieces currently secured.

           The Appraiser has concluded his appraisal of (i) the 104 pouches of rough colored

    purported diamonds; and (ii) the engagement ring that Aman gave to his fiancée. The Appraiser

    has also concluded his appraisal of the Carmelo De Stefano pieces, which are further discussed



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    below. Finally, on January 22, 2020, the Appraiser inspected a majority of the diamonds/jewelry

    pieces held by G7 for purposes of appraising them. A second inspection day is being scheduled.

       B. The Amount of Cash on Hand, the Amount and Nature of Accrued Administrative
          Expenses and the Amount of Unencumbered Funds in the Estate

           There are still no funds in the Argyle receivership bank account. Again, there were no

    funds remaining in Argyle’s bank accounts as of my appointment. However, I anticipate that the

    Argyle receivership account will be funded in the near future once I sell the above-described rough

    diamonds and the engagement ring, which the Court has authorized me to do [DE 168, 179]. I am

    currently marketing those diamonds for sale but have not sold any as of this Report. In addition,

    and as discussed below, the Argyle receivership account will be further funded, upon Court-

    approval, with the approximate $2.1 million in settlement monies funded by Winners Church/the

    Shipmans.

           As previously reported, I established an NDIC and EFDG receivership bank account in

    early April 2019 to deposit and safeguard their funds in connection with the Corporate Monitor

    Action. As of December 31, 2019, there was $54,200.70 in that account. That account was not

    funded, however, from any funds remaining in the EFDG/NDIC accounts as of my appointment.

       C. A Schedule of All the Receiver’s Receipts and Disbursements (Attached as Exhibit A
          to the Quarterly Status Report), with One Column for the Quarterly Period Covered
          and a Second Column for the Entire Duration of the Receivership

           Attached as Exhibit A is the required schedule of my receipts and disbursements during

    the subject quarterly period. The attached schedule reflects a “zero balance” for the Argyle

    receivership account and a balance of $54,200.70 for the EFDG/NDIC receivership account.




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        D. A Description of All Known Receivership Property, Including Approximate or Actual
           Valuations, Anticipated or Proposed Dispositions, and Reasons for Retaining Assets
           Where No Disposition Is Intended

           1. The Funds Recently Deposited into the Court’s Registry

           As stated above, the SEC recently settled with Winners Church and the Shipmans. The

    settlement was for approximately $2.1 million, which is the total amount of money that the church

    and its principals received from Aman and/or the Receivership Entities. The settlement is a

    remarkable result by the SEC on the victims’ behalves. The settlement was memorialized in

    various signed and filed Consents by Winners Church and the Shipmans [DE 148-1, 149-1, 150-

    1], which attached proposed Final Judgments for each relief defendant.

           On December 11, 2019, the Court issued Final Judgments against Winners Church and the

    Shipmans [DE 164-166]. The Final Judgments required Winners Church and the Shipmans to

    deposit specified funds into the registry of the Court within certain timeframes.

           On December 20, 2019 (and docketed on December 23, 2019), Winners Church and the

    Shipmans deposited various funds totaling $1,444,221.58 into the registry of the Court [DE 170-

    174]. On January 2, 2020 (and docketed on January 3, 2020), Frederick Shipman deposited an

    additional $229,372.06 [DE 177]. 2 Therefore, as of this filing, $1,673,593.64 in total has been

    deposited into the registry of the Court by Winners Church and the Shipmans.

           Pursuant to the Final Judgments, I am permitted to file a motion for transfer of the deposited

    funds to me, as Receiver, for the benefit of the Receivership Estate and its victims. As such, I

    intend to file that motion in the near future. The two predicates for filing that motion are the

    following. First, the subject funds must be deposited into the registry of the Court. As stated


    2
       Additional funds will be deposited by Frederick Shipman in the future pursuant to his Final
    Judgment (for a total of $732,595.07). Therefore, Winners Church and Whitney Shipman have
    already deposited all of the funds that they are required to deposit pursuant to the Final Judgments
    against them.

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   above, funds totaling $1,673,593.64 have already been deposited into the registry of the Court.

   Second, an order of disgorgement must be entered against either Eagle, Natural, Argyle, and/or

   Aman. As of this Report, such has not occurred, but I anticipate that disgorgement orders against

   the Receivership Entities will be submitted to the Court for issuance in the next few weeks.

   Assuming the Court grants the transfer motion, I will deposit the funds into the Argyle receivership

   account opened for purposes of this proceeding and will hold the funds for the benefit of the

   Receivership Estate and its victims.

          2. The Diamonds

          Shortly after my appointment, I learned that several people and companies were holding

   diamonds owned by EFDG/NDIC and/or swept into the underlying EFDG/NDIC scheme. I

   discuss what I received, from whom, and the current the disposition of those assets below.

              a. Aman

          As reported above, I obtained an appraisal for the 104 pouches of uncut, unpolished colored

   diamonds that I obtained from Aman after I was appointed. The inventory of the 104 pouches of

   rough diamonds was attached as Exhibit B to my First Report. I also obtained an appraisal for

   Aman’s fiancée’s engagement ring. I will be appraising additional jewelry pieces that Aman

   turned over to me. All of the items are located in my safe deposit box.

          During the subject quarter, I filed a motion, which the Court recently granted, for authority

   to sell those diamonds [DE 168, 179]. Therefore, I am currently in the process of marketing,

   selling, and monetizing for the victims’ benefit those diamonds and will deposit all sales proceeds

   in the Argyle receivership account for their benefit. As stated above, I have appraised these items,

   but I cannot disclose the appraised values because doing such would likely lower any offers or

   bids I ultimately receive. However, I can tell you that the rough, uncut diamonds are not worth

   millions of dollars in their current state. Please also note that the 104 pouches do not contain the

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   19-carat rough green diamond that was the centerpiece of many Eagle investment contracts. That

   diamond is currently held by Relief Defendant G7 and is subject to the Court’s asset freeze.

              b. Harold Seigel

          As previously reported, Harold Seigel was holding two cut yellow diamonds of 1.27 and

   2.37 carats. Shortly after my appointment as Corporate Monitor, I learned that these two diamonds

   had been provided by Aman to Seigel’s counsel (in the Corporate Monitor Action) as potential

   security for the payment of legal bills. The transaction was documented through a memorandum

   of the d/b/a for EFDG, Diamante Atelier. The diamonds had been returned by Seigel’s counsel to

   Seigel through Aman’s sister almost immediately before EFDG’s/NDIC’s decision to stipulate to

   my appointment as Corporate Monitor in the Corporate Monitor Action. I was not initially advised

   by the Seigels or their then counsel of these diamonds or this transfer (which, again, immediately

   preceded my appointment). When I learned about it, given these circumstances, I demanded that

   the two diamonds be turned over to me. The next day, Harold Seigel delivered the two diamonds

   to me with GIA certificates. The diamonds are located in my safe deposit box and have been

   inventoried. The inventory was previously attached as Exhibit D to my First Report.

          During the applicable period, Harold and Jonathan Seigel sat for deposition on December

   3, 2019 and December 18, 2019. The Seigels’ material testimony included the following: (i) they

   claimed to have had no ownership in EFDG and NDIC; (ii) they claimed that Aman acted without

   their knowledge; and (iii) they claimed to have followed the instructions of Aman with regard to

   communications with investors.

              c. Investors

          Certain investors had been holding diamonds and/or jewelry owned by EFDG/NDIC.

   Aman gave such items to certain investors to hold as a sign of good faith for making future

   payments under the investment contracts.       I sent the investors a demand letter requesting

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   immediate turnover of the diamonds or jewelry to me.                   One investor returned the

   diamonds/jewelry; however, others are still considering my demand, have ignored my demand, or

   have informed me that they have already sold the diamonds prior to my appointment. The

   acknowledgement of receipt/list of investor-returned diamonds was previously attached as Exhibit

   E to my First Report.

          These diamonds are also located in my safe deposit box, have been inventoried, and will

   be appraised and sold through a Court-approved motion for the benefit of the Receivership Estate

   and its victims.

          If an investor ultimately refuses to return any diamonds/jewelry to me, I will evaluate filing

   a turnover motion. In addition to a turnover motion, I also intend to recommend denying their

   potential claim in the anticipated future claims procedure. At this time, I am continuing to not

   name these investors, as I do not want to disclose the identities of potential targets.

          I anticipate that I will continue to learn new names of investors who received and/or are

   holding diamonds/jewelry as this proceeding continues. I have also demanded that Aman and the

   Seigels provide me with a full written accounting of all investors who previously received and/or

   are holding diamonds/jewelry so I can send them a demand for their immediate turnover.

              d. Vendors

          Like investors, vendors such as the landlord for the Receivership Entities’ business

   premises, 125 Worth Partners LLC, had been holding diamonds owned by EFDG/NDIC. My

   understanding is that, just like certain investors, Aman gave diamonds to the landlord to hold as a

   sign of good faith for making future rent payments. I sent the landlord a series of demand emails

   requesting immediate turnover to me. The landlord complied and turned over five diamonds to

   me. The diamonds are located in my safe deposit box, have been inventoried, and will also be sold



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   through a Court-approved motion for the benefit of the Receivership Estate.                   The

   acknowledgement of receipt/list was previously attached as Exhibit F to my First Report.

          There are additional vendors that had diamonds from EFDG/NDIC. For example, one of

   the companies that sold rough diamonds to EFDG/NDIC is the American Institute of Diamond

   Cutting, Inc. In addition, there were other transactions with that company, including consignments

   of diamonds and jewelry. I sent a demand letter to the American Institute of Diamond Cutting,

   Inc., which responded that it had three diamonds to turn over. The American Institute of Diamond

   Cutting, Inc. complied and turned over the three diamonds to me. 3

          These diamonds are located in my safe deposit box, have been inventoried, and will also

   be appraised. The acknowledgement of receipt/list was previously attached as Exhibit G to my

   First Report.

              e. Non-Party Carmelo De Stefano

          I learned that non-party Carmelo De Stefano likely had many diamonds or pieces of jewelry

   that derived from the Receivership Entities. Mr. De Stefano was Aman’s friend, was an Argyle

   employee, and was a business partner with Aman involving a Diamante Atelier business venture.

          I sent Mr. De Stefano a demand letter, negotiated, and ultimately obtainied possession of

   38 pieces of jewelry and diamonds from Mr. De Stefano pursuant to an Agreed Order [DE 73].

   The diamonds are located in my safe deposit box and have been inventoried.                    The

   acknowledgement of receipt/list was previously attached as Exhibit H to my First Report.

          On September 27, 2019 and October 23, 2019, I met with Mr. De Stefano and his counsel

   to discuss the jewelry/diamonds he previously turned over and other relevant issues. Mr. De

   Stefano has been cooperative. During the appliable period, Mr. De Stefano and I came to an



   3
     I will also be seeking an accounting of all diamond transactions between the Receivership
   Entities and the American Institute of Diamond Cutting, Inc.
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   agreement in principle regarding a settlement of the jewelry/diamonds. His counsel and I are

   currently finalizing the settlement papers, and I anticipate filing a motion to approve the settlement

   agreement shortly. The bottom line is that Mr. De Stefano will be relinquishing any interest he

   may claim to the diamonds/jewelry, after which I intend to file a motion to sell the subject

   diamonds/jewelry for the benefit of the victims. I have also appraised the diamonds/jewelry with

   the Appraiser, which will be discussed in the upcoming motion to approve the settlement.

              f. Local Diamond Stores/Pawn Shops

          Shortly after my appointment as Corporate Monitor, Aman disclosed to me that there were

   two local jewelry stores (or pawn shops) that had recently received valuable diamonds owned by

   EFDG/NDIC. My summaries of the transactions, and the current state of affairs with respect to

   each, is set forth below.

                          i.      G7

          The first store was G7, which is located near the Seybold Building in Downtown Miami.

   G7 is a Relief Defendant in this case.

          According to Aman, shortly before my appointment as Corporate Monitor, he consigned

   dozens of diamonds and a few jewelry pieces to G7 in loan transactions and received $930,000 at

   3% interest with the diamonds/jewelry as collateral. The diamonds/jewelry are owned by the

   Receivership Entities and/or their customers who had previously given their diamonds to Aman or

   the Seigels for marketing for sale or recertifying through GIA.

          I immediately served the Appointment Order (from the Corporate Monitor Action) on G7

   and demanded that no diamonds/jewelry be sold, transferred, or conveyed. G7 disputed this and

   claimed that the subject diamonds/jewelry were not covered by the Corporate Monitor

   Appointment Order because Aman, not EFDG/NDIC, owned and sold the diamonds and because

   G7 purchased the diamonds from Aman for fair value.

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          I repeatedly demanded that G7 produce all supporting documents regarding the

   transactions. G7, through its counsel, submitted a letter that attached purported bills of sale for

   the diamonds/jewelry. I then requested that G7 confirm whether it produced all of the documents

   that comprised the transactions. G7 repeatedly failed to confirm this very simple fact, but

   eventually agreed – after much prodding – to produce additional documents from its file. I finally

   received additional documents from G7, which included documents that demonstrated the

   transactions involved consignments and loans involving the diamonds/jewelry, not sales.

          Before the SEC sued G7 as a Relief Defendant, I (as Corporate Monitor) ultimately

   obtained G7’s consent to stand down from selling the diamonds/jewelry. Shortly thereafter, the

   SEC sued G7 as a Relief Defendant in this action. As part of the SEC’s initial filings, I provided

   a declaration to the SEC regarding the dozens of diamonds/jewelry held by G7 [DE 5-12]. The

   SEC ultimately obtained an asset freeze over the subject diamonds/jewelry [DE 55].             The

   diamonds/jewelry frozen at G7 are likely worth more than the $930,000 transferred to Aman. As

   discussed below, Mr. Graziano has begun his inspection of the diamonds/jewelry for purposes of

   a future receivership appraisal. A list of the subject diamonds/jewelry that G7 has produced was

   Exhibit I to my First Report.

          One of the diamonds (a flawless blue heart diamond) on the list was sold for $430,000

   before my appointment as Corporate Monitor. The $430,000 reduced Aman’s loan balance from

   $930,000 to more than $500,000 (with interest and other expenses). In addition, the 19-carat fancy

   green rough diamond that EFDG and the Defendants represented to the many EFDG investors was

   worth $22 million, upon cutting and polishing, is one of the many diamonds at G7 covered by the

   asset freeze. G7 has represented to me in writing that it believes that diamond “is worth so little

   money” and is “basically worthless.”



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          On October 7, 2019, G7 served voluminous written discovery on me, including a first

   request for production, first set of interrogatories and first request for admissions. I served my

   discovery responses in mid-November. I recently received new written discovery requests from

   G7 and will be responding. I will discuss that discovery in my next report.

          On January 22, 2020, Mr. Graziano inspected a majority of the diamonds/jewelry held by

   G7 for purposes of appraising them. A second inspection date for the remaining diamonds is in

   the process of being scheduled. Mr. Graziano will then draft an appraisal for the G7 items, which

   I will discuss in my next report.

          On January 23, 2020, G7’s corporate representative (Yaniv Ben Hamo, G7’s purported

   owner) sat for deposition. The deposition did not conclude and has been continued to February 7,

   2020. My counsel will be asking questions on February 7th. I will summarize G7’s material

   testimony in my next report.

          Mediation with G7 (and also the Seigels) is scheduled for March 3, 2020.

                          ii.     Provident Jewelry

          Like G7, Provident Jewelry, namely the 331 Clematis Street store, received some diamonds

   in a similar fashion. I (as Corporate Monitor) sent an immediate demand to maintain the status

   quo of the various diamonds and jewelry pieces that Provident Jewelry received from a recent

   transaction at the 331 Clematis St. store. Provident Jewelry ignored my initial demand email as

   well as my follow-up letter. Therefore, I will be taking the necessary actions against that company.

          3. The Horses

          As previously reported, I seized four jumping horses in connection with the Corporate

   Monitor Action and before the filing of this action whose care and management were funded by

   primarily EFDG (and thus investors) before my appointment. I relocated the horses to a new

   facility, continued to care for them through the EFDG/NDIC bank account, marketed them for

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   sale, and ultimately signed three purchase agreements to sell all four horses for a total of $175,500,

   the funds of which I have received and deposited in the EFDG/NDIC account (that account funded

   the care, maintenance, and appraisals for the horses). I filed two motions to approve the horses’

   sales (one motion when two purchase agreements were signed, and one motion in a self-executing

   manner before the third and final purchase agreement (for the two remaining horses) was signed),

   which this Court promptly granted [DE 105, 106, 135, 138, and 141].

          4. Argyle’s Technology

          I provided notice of the Appointment Order to certain vendors including Ideofuzion, a

   Pakistani company and the developer of Argyle’s cryptocurrency technology, blockchain, and

   code. I will be investigating and evaluating whether Argyle’s cryptocurrency technology has any

   value, and if so, how much and how best to sell it.

          5. The Receivership Entities’ Bank Accounts

          The Receivership Entities maintained bank accounts at Bank of America. Again, there

   were no funds in the Receivership Entities’ accounts as of my appointment.

          I have performed, and continue to perform, a preliminary review of the bank records.

   Aman drained the corporate accounts to ensure there was a zero balance at the time of my

   appointment as Corporate Monitor and had spent many years living a very lavish lifestyle. It also

   appears that Aman transferred significant funds to others, including, but not limited to, the Seigels

   (through their company Relief Defendant H.S. Management Group LLC) and Relief Defendant

   Winners Church and its pastor/bishop (Relief Defendants, the Shipmans). It appears that there

   were many transactions that I believe are subject to clawback, especially in the months leading up

   to my appointment as Corporate Monitor and no different than the 90-day preference period

   afforded to trustees in bankruptcy cases. Therefore, I will be investigating potential targets for

   purposes of ancillary receivership litigation for the benefit of the Receivership Estate. I anticipate

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   serving demand letters in the first quarter of this year.

          In addition to Bank of America, I learned that the Receivership Entities may have had prior

   accounts at BB&T Bank and PNC Bank. Like Bank of America, I served BB&T and PNC Banks

   with the Corporate Monitor Appointment Order and instructed them to freeze the company

   accounts. Although there were no accounts or funds identified in the accounts at BB&T and/or

   PNC Banks, BB&T Bank froze $1,350.51 in the name of related entity (Fancy Diamonds Private

   Investments LLC.) At my request, BB&T agreed to transfer the funds, which I have received.

          6. The Office Items

          As stated above, I removed the remaining office items/personalty from the former business

   premises and have sold the various office items for $2,555, given the minimal liquidation value of

   each item.

          In addition, there were 44 coins in one of the safes at the former business premises that I

   have secured. I am attempting to determine who owns the coins and ultimately whether they are

   subject to this proceeding. The coins are not part of any of the relief requested in any motion

   previously filed in this proceeding or the Corporate Monitor Action.

          7. Diamonds Owned by Investors and Other Seigel Clients

          After my appointment as Receiver, I learned the names of several people, including

   investors and Seigel clients, who have asked me whether I have secured their diamonds. It appears

   that several diamonds purportedly owned by several investors or Seigel clients are currently being

   held by G7. It also appears that certain non-parties, such as the above-mentioned American

   Institute of Diamond Cutting and the landlord, were each holding at least one diamond purportedly

   owned by investors/Seigel clients. Those specific diamonds have been turned over to me by the

   American Institute of Diamond Cutting and the landlord.



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          I have also communicated with several people who have represented to me that (i) they had

   purchased diamonds from the Seigels/their companies and (ii) thereafter the Seigels stored the

   diamonds in their safe, typically for purposes of a future auction or resale.                  Those

   investors/customers have asked me whether I have secured their diamonds. I have GIA reports of

   the cut/polished diamonds that I have secured and have the ability to check my inventory if the

   investor/customer provides the GIA number of his/her diamond. I have identified at least four

   diamonds that I have secured in that manner. For the diamonds that I do not have, I have asked

   the Seigels to account for the location of each diamond that is the subject of the investor/customer’s

   inquiry. That process is ongoing, and I will continue to report on same in the future. I have also

   instructed investors in my most recent investor letter dated January 16, 2020, to please review the

   Exhibits to my First Report online, which show the diamonds held by me and G7, and to please

   contact me as soon as possible if they believe their diamonds are being held by me or G7.

          I have not made a final decision regarding the disposition of diamonds secured by me, as

   Receiver, that the Seigel clients/investors previously purchased.

          8. The Colorado Property

          Regarding the Seigel home and property in Colorado, the SEC and I continue to be aware

   of the issue and continue our analysis of this sizeable asset. I will keep the victims updated

   regarding the ultimate disposition of this asset.

      E. A Description of Liquidated and Unliquidated Claims Held by the Receivership
         Estate, Including the Need for Forensic and/or Investigatory Resources; Approximate
         Valuations of Claims; and Anticipated or Proposed Methods of Enforcing Such
         Claims (Including Likelihood of Success in: (i) Reducing the Claims to Judgment;
         and, (ii) Collecting Such Judgments)

          Because the receivership recently commenced, it is still premature to discuss the specific

   claims that I may bring as Receiver. However, and as stated previously, whatever claims that I

   ultimately bring will be with the hopes, and a probability, of winning and collecting. I remain very

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   mindful and sensitive of the issue of expenses and the necessity for efficiency and limiting

   expenses as much as possible in every aspect of this proceeding, including investigating and filing

   ancillary lawsuits for additional recoveries to benefit the Receivership Estate. I intend to continue

   to make every decision with a cost-benefit analysis of the amount needed to bring and prosecute

   the claim versus the potential recovery.

          Regarding the issue of forensic investigations, I have received many of the companies’

   bank records from Bank of America for the period of 2014 through 2019. As stated above, there

   were no funds in the accounts as of my appointment. The dissipation and transfers occurred over

   many years. There are literally thousands of transactions to reconstruct, including those that are

   legitimate and many that are undoubtedly illegitimate. Assuming there are sufficient funds to

   perform the necessary forensic work, I anticipate retaining an accounting firm to fully reconstruct

   the Receivership Entities’ bank accounts and other relevant accounts.

          I intend to determine what each investor is owed (net investment amount of money in and

   money out), as well as everyone who improperly received funds or otherwise profited from the

   Receivership Entities’ investment scheme. I anticipate there will be many people and many

   entities who profited or improperly received funds. As stated above, and starting the first quarter

   of 2020, I intend to serve pre-suit demand letters on identified targets, which may result in ancillary

   lawsuits. I will continue to not identify those targets in this Report.

      F. A List of All Known Creditors with Their Addresses and the Amounts of Their
         Claims

          It appears that the Receivership Entities had hundreds of investors. I am still in the process

   of quantifying the actual number of investors. It also appears that the Receivership Entities raised

   approximately $30 million. I am also still in the process of calculating the actual amount of money

   raised. The amount of the investors’/creditors’ claims, as well as my recommended treatment of

   such, will be part of the future claims procedure and claims proceedings (see section G, infra).
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          When the Corporate Monitor Action began, I (as Corporate Monitor) obtained investor lists

   from Aman. However, the lists do not include what each investor has been repaid and do not

   include all of the investors’ names. I have been, and will continue to be, in constant contact with

   the investors. I will also be compiling my own investor list, including names and contact

   information, to ensure I know the universe of investors, the amounts they invested, and the amounts

   they received back, whether denominated as “interest” or “principal.”

          Regarding the receivership website (naturaldiamondsreceivership.com), I continue to

   update it with important court filings and investor letters. For example, I recently uploaded to the

   website a new investor letter dated January 16, 2020, a copy of which is attached as Exhibit B.

          The receivership website also contains a registration form, 4 a “frequently asked questions”

   section to educate the investors about the receivership process, and an email address

   (naturaldiamondsreceivership@lklsg.com) and phone number (786.347.2563), so the investors

   may contact me directly with questions that were not answered by navigating the website. My

   staff, professionals, and I regularly communicate with investors.

       G. The Status of Creditor Claims Proceedings, after Such Proceedings Have Been
          Commenced

          It is still premature to discuss the specifics of a claims procedure and claims proceedings,

   or when exactly the claims procedure and claims proceedings will begin and conclude. However,

   I anticipate developing a claims procedure later this year and concluding all claims proceedings as

   soon as possible with as little claims litigation as possible and ultimately repay all legitimate

   investor and creditor claims as soon as possible.




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     The registration form is a helpful tool for investors and creditors to send me their name, contact
   information, and an estimate of the amount of money they believe they are owed.
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      H. The Receiver’s Recommendations for a Continuation or Discontinuation of the
         Receivership and the Reason for the Recommendations

          It is still my recommendation that it should continue for the benefit of the many victimized

   investors, who are collectively owed tens of millions of dollars. The underlying investment

   scheme has all the ingredients of a massive Ponzi scheme affecting many victims in this Country

   and Canada.

          My overall investigation will be ongoing for some period of time. I will supplement this

   Third Report with my Fourth Report at the conclusion of the next quarter.




                                                       /s/ Jeffrey C. Schneider____________
                                                       Jeffrey C. Schneider, not individually,
                                                       but solely in my capacity as Receiver

   Dated: January 30, 2020




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